UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                                     Case No. 20-10322 (CLB)
In re:
                                                                     Chapter 11
THE DIOCESE OF BUFFALO, N.Y.,

                                    Debtor.



The Diocese of Buffalo, N.Y.,
                                                                     Adversary No. 20-01016
                                    Plaintiff,

         v.

JMH 100 Doe, et al.1

                                    Defendants.



GENERAL AND SPECIFIC OBJECTIONS TO DECLARATION OF JOHN M. SCHOLL
 REGARDING THE DIOCESE’S SELF-INSURANCE PROGRAM AND AVAILABLE
                      INSURANCE COVERAGE

         The Official Committee of Unsecured Creditors (the “Committee”) of the Roman

Catholic Diocese of Buffalo, New York (the “Diocese”) objects to the Direct Testimony of John

Scholl [Adversary Docket No. 5] (the “Testimony”), submitted by the Diocese in support of its

Motion for a Preliminary Injunction Under 11 U.S.C. §§ 362 and 105(a).

                                         GENERAL OBJECTIONS

         John Scholl is the Director of Insurances Services for the Diocese. The Committee

objects to Mr. Scholl’s testimony to the extent it purports to provide expert testimony.. He



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 A full list of the Defendants in this adversary proceeding is attached as Exhibit A to the Diocese’s complaint,
which has been redacted to protect the privacy interests of survivors.


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acknowledges he is not a lawyer (Tr. 69:4-5). Therefore, Mr. Scholl’s testimony is limited to lay

person testimony based on his personal knowledge. Frequently Mr. Scholl’s testimony deviates

from that standard.

         The Committee objects also generally that Mr. Scholl’s Testimony is rife with hearsay

and speculation. Mr. Scholl’s Testimony fails to explain the basis for much of the information he

testifies to regarding individual State Court Actions, and makes unsupported conclusions

regarding the effects of such litigation on the estate.

         Below, the Committee objects specifically to particular paragraphs of Mr. Scholl’s

Testimony to the extent the statements lack foundation, are speculative, conclusory, not based on

his personal knowledge, not based on his perception, or outside the scope of his non-legal

experience.

                                       SPECIFIC OBJECTIONS

 Pg./Para.         Excerpt                                                     Specific Objections

 4 ¶9              “Under the current formulation of the SIP, the Diocese      Objection based upon
                   is responsible for paying a self-insured retention of up    Federal Rule of
                   to $250,000 for general liability claims. Above the         Evidence 402.
                   self-insured retention, the Diocese maintains general       Irrelevant because
                   liability excess policies with National Catholic Risk       Committee is
                   Retention Group (“National Catholic”) and W.R.              conceding it will not
                   Berkley with limits of $14.75 million and $25 million       proceed with actions
                   respectively.”                                              that impact these
                                                                               policies (post 1986).

 4 ¶11             “Upon information and belief, copies of the relevant        Objection based upon
                   policies are in the possession of the respective carriers   Federal Rules of
                   and may also be contained in the records of the various     Evidence 602, 802 and
                   SIP Participants….                                          802.

                   Nevertheless, based upon my review of the available         Objection based upon
                   records, my knowledge of the relationship between the       Federal Rules of
                   Diocese and the other SIP Participants, and my              Evidence 602, 802 and
                   experience in the insurance and risk-management             701. Foundation as
                   industry, upon information and belief prior to the 1973     expert. No foundation
                   implementation of the SIP, each of the SIP Participants     as lay witness since no


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 Pg./Para.         Excerpt                                                     Specific Objections

                   maintained liability insurance policies and each of those policies were ever
                   policies would have included the Diocese as an            found that the Diocese
                   additional named insured.”                                procured for itself
                                                                             before 1973. Tr.
                                                                             44:10-44:12.

 6 ¶15             “Despite the fact that the CVA Cases are now stayed         Objection based upon
                   against the Diocese, the Diocese is still responsible       Federal Rules of
                   under the SIP to provide a defense for other SIP            Evidence 602 and 611
                   Participants. In the event plaintiffs are allowed to        and 802. Hearsay as
                   continue to prosecute the CVA Cases against the SIP         there are no written
                   Participants, the Diocese will be required to expend        agreements. Tr.
                   significant time and money responding to the CVA            41:22-42:2. See also,
                   Cases both in its capacity as the risk manager and          Tr. 56:12-56:18.
                   insurance coordinator for the SIP Participants and
                   simply to protect the Diocese’s own legal interests
                   which could be jeopardized by continued prosecution of
                   the CVA Cases.”

 6 ¶16             “Even absent the Diocese’s obligations under the SIP to     Objection based upon
                   provide a defense to the other SIP Participants with        Federal Rules of
                   respect to the CVA Cases, the Diocese would be              Evidence 601, 602,
                   required to monitor and participate in the CVA Cases,       611 & 701.
                   notwithstanding the bankruptcy automatic stay, because      Speculation, no
                   the claims asserted against other SIP Participants are so   foundation. Overly
                   closely intertwined with the claims asserted against the    broad so as to be
                   Diocese that the Diocese may be exposed to collateral       confusing. Calls for a
                   estoppel, adverse precedent, vicarious liability, or        legal conclusion
                   imputed admissions if the litigation continues.             (“Diocese may be
                                                                               exposed to collateral
                                                                               estoppel, adverse
                                                                               precedent, vicarious
                                                                               liability or imputed
                                                                               admissions…”).
                                                                               “Well, again, I – I am
                                                                               not lawyer, so yes,
                                                                               those are all basically
                                                                               legal terms…” Tr.
                                                                               69:4-5.




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 Pg./Para.         Excerpt                                                    Specific Objections

                   In these circumstances, the Diocese will have no choice    No Foundation for
                   but to participate in the CVA Cases, thus diverting        “will have no choice”
                   significant resources from the pursuit of a plan of        Q:“The obligation’s
                   reorganization and vitiating the efficacy of the           there because that’s
                   automatic stay.”                                           the way it’s been
                                                                              done? A: “Basically,
                                                                              in a nutshell, yes, that
                                                                              is the history of how it
                                                                              has gone over the
                                                                              years, yes.” Tr. 58:7-
                                                                              10.

 6 ¶17             “Each of the SIP Participants has the same rights as the   Objection based upon
                   Diocese to coverage under both the SIP and any pre-        Federal Rule of
                   1973 policies on which they are co-insureds.               Evidence 601 & 602.
                   Accordingly, the applicable SIP reserves and policy        No evidence that
                   limits are shared between the Diocese and the other SIP    Diocese shares any
                   Participants. The reserves the Diocese holds to            pre-1973 policies. No
                   administer the SIP, as well as the excess insurance        foundation as lay
                   coverage available under the SIP and/or any pre-1973       witness since no
                   coverage is finite.                                        policies were ever
                                                                              found that the Diocese
                                                                              procured for itself
                                                                              before 1973. Tr.
                                                                              44:10-44:12.



                   To the extent a claim remains unstayed, the SIP will be    No foundation and
                   required to expend its reserves to fund defense costs.     hearsay as no written
                                                                              agreement. Hearsay as
                                                                              there are no written
                                                                              agreements. Tr.
                                                                              41:22-42:2. See also,
                                                                              Tr. 56:12-56:18.



                   Moreover, with respect to any claim which is               Rule 601, 402,
                   successfully prosecuted against a SIP Participant,         Speculation
                   plaintiffs undoubtedly will look directly to any shared    “undoubtedly”.
                   insurance to satisfy any judgment, thereby depleting,      Irrelevant since no
                   dollar-for-dollar, proceeds which would otherwise be       judgments will be
                   available to the Diocese’s bankruptcy estate.              enforced.
                   Accordingly, continuation of the CVA Cases against


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 Pg./Para.         Excerpt                                                   Specific Objections

                   the SIP Participants will have an immediate adverse
                   economic consequence for the Diocese’s estate.”


 7 ¶18             “Lastly, continuation of the CVA Cases will divert        Objection based upon
                   critical resources away and likely distract Bishop        Federal Rule of
                   Sharfenberger, Charles Mendolera, the Diocese’s           Evidence 601 & 602.
                   Executive Director of Financial Administration, myself,   “likely distract…”
                   and other key personnel and advisors from focusing on     isn’t based upon
                   the Diocese’s reorganization efforts.”                    personal knowledge,
                                                                             but speculation.


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Dated: November 24, 2023
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